 Case 17-31042       Doc 272   Filed 01/15/19 Entered 01/15/19 13:53:54       Desc Main
                                Document     Page 1 of 3


                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS

In re:
      Roney Louis Harris                                   Chapter 13

      Debtor                                               Case No. 17-31042-CJP


     FORMER CHAPTER 7 TRUSTEE’S MOTION TO APPEAR BY TELEPHONE AT
                HEARING ON CREDITORS’ MOTION TO DISMISS CASE
To the Honorable Christopher J. Panos, U.S. Bankruptcy Judge:

Now comes David W. Ostrander, the former Chapter 7 Trustee (“Former Trustee”) in
the above captioned case, by his counsel, and respectfully requests that he be
permitted to attend the Nonevidentiary Hearing on certain creditors’ motion to dismiss
this case, presently scheduled for Friday, February 8, 2019, at 10 A.M. in Worcester.
In support of this motion, the Former Trustee respectfully represents as follows:
1.    The Debtor filed, pro se, a Voluntary Chapter 7 Petition on December 13, 2017
      (the "Petition Date").

2.    David W. Ostrander was appointed Trustee.

3.    On March 9, 2018, the Debtor filed a motion to convert his case to Chapter 13 (the
      “Motion To Convert”).

4.    After conducting a hearing on April 12, 2018, the Court allowed the Debtor to
      convert his case to Chapter 13 (docket #131).

5.    On July 10, 2018 (docket #196), PHH Mortgage Corporation and HSBC Bank
      USA, N.A. (the “Creditors”) filed a joint motion to dismiss (the “Motion To Dismiss”)
      this case.

6.    The same day, July 10, 2018 (docket #200), the Former Trustee filed a limited
      objection to the Motion To Dismiss, contending that the case should be converted
      back to Chapter 7 as there were (and, upon information and belief, still are)
      significant non-exempt assets of the Debtor that should be liquidated for the
      benefit of the Bankruptcy Estate and the Debtor's creditors.
 Case 17-31042    Doc 272     Filed 01/15/19 Entered 01/15/19 13:53:54    Desc Main
                               Document     Page 2 of 3


7.   On April 23, 2018 (docket #143), the Former Trustee filed a motion for an
     administrative expense in the amount of $17,501.44. On April 30, 2018 (docket
     #154), the Debtor filed an objection to the motion for administrative expense. On
     May 4, 2018 (docket #155), the Debtor filed a Chapter 13 Plan. On June 21, 2018
     (docket #190), the Former Trustee filed an objection to confirmation of the
     Debtor's Plan for the failure to treat the administrative expenses in his Plan.
     These matters are pending.

Wherefore, the Trustee respectfully requests that he be allowed to attend the above
noted hearing by telephone.
                                   David W. Ostrander, Former Chapter 7 Trustee
Dated: January 15, 2019
                               By: /s/ David W. Ostrander
                                  David W. Ostrander, Esq., BBO#554004
                                  Ostrander Law Office
                                  36 Service Center Road, P.O. Box 1237
                                  Northampton, MA 01061-1237
                                  T: (413) 585-9300 F: (413) 585-9490
                                  E: david@ostranderlaw.com
 Case 17-31042     Doc 272    Filed 01/15/19 Entered 01/15/19 13:53:54      Desc Main
                               Document     Page 3 of 3

                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

In re:
      Roney Louis Harris                                 Chapter 13

     Debtor                                              Case No. 17-31042-CJP


                             CERTIFICATE OF SERVICE

I, David W. Ostrander, certify that I served a copy of the Trustee's Motion To Appear By
Telephone At Hearing On Creditors’ Motion To Dismiss Case on the following, in the
manner indicated, on January 15, 2019:
Office of the U.S. Trustee                   Chapter 13 Trustee
(via ECF)                                    (via ECF)

Marcus Pratt, Esq.                           Stephanie Sprague, Esq.
Korde & Associates, P.C.                     Locke Lord LLP
Counsel To PHH                               Counsel To HSBC
(via ECF)                                    (via ECF)

Roney Louis Harris
615 White Street
Springfield, MA 01108
(via first class mail)



/s/ David W. Ostrander
David W. Ostrander
Ostrander Law Office
P.O. Box 1237
Northampton, MA 01061-1237
T: (413) 585-9300 F: (413) 585-9490
E: david@ostranderlaw.com
